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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


TRENA DENISE SCOTT,                      :
      Plaintiff,                         :
                                         :
      v.                                 :     Case No. 2:23-cv-2504-JDW
                                         :
PROJECT HOME, et al. ,                   :
      Defendant.                         :


                                        ORDER

      AND NOW, this 19th day of December, 2024, upon consideration of Defendants’

Motion For Summary Judgment Pursuant To FED. R. CIV. P. 56 (ECF No. 44), it is

ORDERED that the Motion is GRANTED for the reasons stated in the accompanying

Memorandum.

      It is FURTHER ORDERED that the Motion In Opposition To Defendant’s Motion

For Summary Judgment (ECF No. 45) is DENIED AS MOOT.

      The Clerk shall mark this case closed.

                                               BY THE COURT:

                                               /s/ Joshua D. Wolson
                                               JOSHUA D. WOLSON, J.
